     4:06-cr-01322-TLW     Date Filed 09/01/20     Entry Number 553    Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                            FLORENCE DIVISION

 United States of America,                     Crim. No. 4:06-cr-01322-TLW-4

       v.
                                                              Order
 Sterling Vernard Green



      This matter is before the Court on Defendant’s motion for reconsideration of

the denial of his motion for a sentence reduction pursuant to the First Step Act of

2018, Pub. L. No. 115-391, 132 Stat. 5194. “Because there is no provision in the

Federal Rules of Criminal Procedure that governs a motion for reconsideration,

courts are guided by analogy to the standards established by the civil rules.” United

States v. Mallory, 337 F. Supp. 3d 621, 626 (E.D. Va. 2018) (citation omitted). Under

the civil rules, a Rule 59(e) motion may only be granted “(1) to accommodate an

intervening change in controlling law; (2) to account for new evidence not available

at trial; or (3) to correct a clear error of law or prevent manifest injustice. It is an

extraordinary remedy that should be applied sparingly.” Mayfield v. Nat’l Ass’n for

Stock Car Auto Racing, Inc., 674 F.3d 369, 378 (4th Cir. 2012) (citations omitted).

      The Court has considered the arguments he now raises in this motion,

including his current statutory and Guidelines ranges, and his commendable

achievements which in prison. However, for the reasons set forth in the Court’s prior

order denying his First Step Act motion, which the Court incorporates here, the Court

concludes that a sentence reduction in his case is not warranted. Accordingly, his

motion for reconsideration, ECF No. 524, is DENIED.

                                           1
    4:06-cr-01322-TLW      Date Filed 09/01/20   Entry Number 553   Page 2 of 2




     IT IS SO ORDERED.

                                       s/ Terry L. Wooten
                                       Terry L. Wooten
                                       Senior United States District Judge

September 1, 2020
Columbia, South Carolina




                                          2
